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12      MICHAEL DELONG
13
                              UNITED STATES DISTRICT COURT
14
                            CENTRAL DISTRICT OF CALIFORNIA
15

16      MICHAEL DELONG,                            Case No. 2:21-CV-06165-AB-PD
17                    Plaintiff,                   STIPULATION TO EXTEND
18                                                 TIME TO RESPOND TO INITIAL
               vs.                                 COMPLAINT BY MORE THAN
19                                                 30 DAYS (L.R. 8-3)
        ALLIED VEHICLE PROTECTION,
20      PALMER ADMINISTRATIVE                      For PayLink Direct:
        SERVICES, and PAYLINK DIRECT,              Current response date: 10/4/2021
21
                                                   New response date: 10/18/2021
22                    Defendants.

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        Stipulation to Extend Time to Respond to        Case No. 2:21-CV-06165-AB-PD
        Initial Complaint by More Than 30 Days
     Case 2:21-cv-06165-AB-PD Document 29 Filed 10/04/21 Page 2 of 3 Page ID #:101



 1            TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
 2     RECORD:
 3            Plaintiff Michael DeLong (“Plaintiff”) and Defendant Paylink Direct
 4     (“Defendant”) HEREBY STIPULATE and AGREE as follows:
 5            WHEREAS, on September 13, 2021, the parties filed a stipulation pursuant
 6     to Local Rule 8-3 extending Defendant’s deadline to respond to the Complaint by
 7     twenty-one (21) days;
 8            WHEREAS, the current deadline for Defendant to respond to the Complaint
 9     is October 4, 2021;
10            WHEREAS, the parties are still in the process of exploring a settlement of
11     their issues, and the parties agree that a further extension of time for Defendant to
12     respond would be in the interest of judicial efficiency and economy and will not
13     prejudice any party in this matter or unduly delay resolution of this matter;
14            WHEREAS, Defendant has requested, and Plaintiff has agreed to an
15     additional fourteen (14) day extension up to and including October 18, 2021 to
16     respond to the Complaint in this action;
17            THEREFORE, Plaintiff and Defendant thus respectfully request that the
18     Court grant this Stipulation. A proposed order is lodged herewith.
19      DATED: October 4, 2021                     KIMMEL & SILVERMAN, P.C.
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21
                                                   By /s/ Amy Lynn Bennecoff Ginsburg
22                                                   AMY LYNN BENNECOFF GINSBURG
23                                                   Attorneys For Plaintiff
                                                     MICHAEL DELONG
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        Stipulation to Extend Time to Respond to        1    Case No. 2:21-CV-06165-AB-PD
        Initial Complaint by More Than 30 Days
     Case 2:21-cv-06165-AB-PD Document 29 Filed 10/04/21 Page 3 of 3 Page ID #:102



 1      DATED: October 4, 2021                     VICK LAW GROUP, APC
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 3
                                                   By /s/ Scott Vick
 4                                                   SCOTT VICK
                                                     Attorneys for Defendant
 5                                                   PAYLINK DIRECT
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              I hereby attest that all other signatories listed concur in the filing of this
 8
       document and have authorized its filing.
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                                                   /s/ Scott Vick
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        Stipulation to Extend Time to Respond to           1        Case No. 2:21-CV-06165-AB-PD
        Initial Complaint by More Than 30 Days
